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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 ORAND L. COLLINS,

       Defendant.                                       Case No. 06-cr-30046-DRH
                                       ORDER

 HERNDON, District Judge:

              Before the Court is the Government’s Motion to Continue Sentencing

 (Doc. 56) regarding defendant Collins until a date after January 2, 2007. The Motion

 explains that the reason a continuance is needed is because it is possible defendant

 Collins may receive a reduction in sentence, pursuant to § 5K1.1, due to his

 cooperation with the Government against his co-defendant, Ron Lott. However,

 Government states that it can not file such motion until after defendant Lott has been

 sentenced and his time to file a notice of appeal has expired. Further, defendant

 Collins does not object to a continuance.       Therefore, the Court GRANTS the

 Government’s Motion to Continue Sentencing Hearing (Doc. 56). The sentencing

 hearing for defendant Orand L. Collins is hereby rescheduled for Friday, February

 9, 2007 at 2:30 p.m.

              IT IS SO ORDERED.

              Signed this 14th day of November, 2006.

                                                       /s/       David RHerndon
                                                       United States District Judge
